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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 22-MJ-8332-BER


  IN RE SEALED SEARCH WARRANT                              FILED UNDER SEAL

  _ _ _ _ _ _ _ __ _ __ _ !


                                         ORDER TO SEAL

         The United States of America, having applied to this Court for an Order sealing the

  Second Notice of Filing of Redacted Documents, and the Court finding good cause:

         IT IS HEREBY ORDERED that the Second Notice of Filing of Redacted Documents,

  the accompanying attachment to the Second Notice, the Motion to Seal, and this Order shall

  be filed under seal until further order of this Court.

         DONE AND ORDERED in chambers at Palm Beach County, Florida, this / Jday

  of August, 2022.




                                              ~UNITED STATES MAGISTRATE JUDGE
                                               SOUTHERN DISTRICT OF FLORIDA
